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                              UNITED STATES DISTRICT COURT
                                                                                      FILED
                               WESTERN DISTRICT OF TEXAS                                 JAN 2    1   2020
                                 SAN ANTONIO DIVISION
                                                                                CLERK, U.S. DISTRICT COURT
                                                                               WESTERN   DISTRI I OF     S
JARROD STRINGER, et. at
                                                                                              D        YCLERK

V.                                                      CIVIL NO. SA-16-CV-257-OG         '
ROLANDO PABLOS, in his official                    )
capacity as Texas Secretary of State               )
and STEVEN C. McCRAW, in his official              )
capacity as Director of the Texas Department       )
of Public Safety                                   )



JARROD STRINGER, et. al.

V.



RUTH HUGHS, in her official capacity                    CIVIL NO. SA.-20-CV-46-OG
as Texas Secretary of State and STEVEN C.
McGRAW, in his official capacity as
Director of the Texas Department of
Public Safety

                      ORDER GRANTING MOTION TO INTERVENE

       Pending before the Court is the Texas Democratic Party, DSCC, and DCCC's motion to

intervene. Docket no. 124. Defendants have filed a response, and movants have filed a reply. Docket

nos. 133, 134. The Court has reviewed the motion and applicable law, and fmds that the motion to

intervene should be granted, pursuant to Fed. R. Civ. P. 24(a)(2) and (b)(1)(B). The Clerk of the Court

shall file Intervenor-Plaintiff's complaint as part of the record herein. Docket no. 124-2.

        SIGNED and ENTERED this                 uay utjauuaty,   Z.VL.V.




                                                ORLANDO L. GARCIA
                                                CHIEF U.S. DISTRICT JUDGE
